
726 N.W.2d 42 (2007)
HAMILTON'S HENRY THE VIII LOUNGE, Plaintiff-Appellant,
v.
DEPARTMENT OF TREASURY, Defendant-Appellee.
Hamilton's Bogart's, Inc., Plaintiff-Appellant,
v.
Department of Treasury, Defendant-Appellee.
Jo-Bet, Plaintiff-Appellant,
v.
Department of Treasury, Defendant-Appellee.
Garter Belt, Inc., Plaintiff-Appellant
v.
Department of Treasury, Defendant-Appellee.
Docket Nos. 131976-131979, COA Nos. 267537-267540.
Supreme Court of Michigan.
January 29, 2007.
On order of the Court, the application for leave to appeal the July 20, 2006 judgment of the Court of Appeals is considered, and it is DENIED, because we are not persuaded that the questions presented should be reviewed by this Court.
